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                                                                      10                        UNITED STATES DISTRICT COURT
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                                                                      11                      CENTRAL DISTRICT OF CALIFORNIA
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                                                                      12 STANLEY DACHINGER, LINDA                   CASE NO.: 2:20-CV-03847-RGK-SK
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         DACHINGER, JACKIE BROCK and
                                                                      13 JANIS BROCK,
                                   ENCINITAS, CA 92024




                                                                                                                    DEFENDANT PRINCESS CRUISE
                                                                      14                                            LINE LTD.’S MOTION TO DISMISS
                                                                                       Plaintiffs,
                                                                      15 vs.

                                                                      16 PRINCESS CRUISE LINES, LTD.,               Date: September 14, 2020
                                                                                                                    Time: 9:00 a.m.
                                                                      17                                            Judge: Hon. R. Gary Klausner
                                                                                       Defendant.                   Courtroom: 850
                                                                      18

                                                                      19                                            Magistrate: Hon. Steve Kim
                                                                                                                    Filed: 04/28/2020
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                                                                       1         Defendant, PRINCESS CRUISE LINES, LTD. (“PRINCESS”), hereby files
                                                                       2 this Motion to Dismiss the Amended Complaint filed by Plaintiffs herein.

                                                                       3         This motion is made following several conferences of counsel pursuant to
                                                                       4 L.R. 7-3 which took place between May 7, 2020 and July 2, 2020.

                                                                       5 I.      INTRODUCTION
                                                                       6         This is a tort case brought by Plaintiffs who rely on inadequate boilerplate and
                                                                       7 conclusory allegations of physical harm and whose allegations of emotional harm

                                                                       8 are squarely foreclosed by established precedent. The Court should dismiss this

                                                                       9 case for failure to state a claim.

                                                                      10         The Amended Complaint (ECF No. 24) is brought by Plaintiffs who were
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                                                                      11 aboard the same Grand Princess cruise and who allege that at some undisclosed
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                                                                      12 time after their cruise they tested positive for COVID-19. Significantly, they do not
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                                                                      13 allege having any recognized symptoms of COVID-19, any substantial physical
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                                                                      14 manifestation to their emotional distress, nor any facts connecting PRINCESS’s

                                                                      15 alleged conduct with their positive COVID-19 test result. Aside from conclusory

                                                                      16 allegations that they “suffered physical pain and suffering,” “physical injury,”

                                                                      17 “physical handicap,” and “will suffer such losses and impairments in the future,”

                                                                      18 (Am. Compl. ¶¶ 25, 29-33), Plaintiffs do not allege any actual injury beyond

                                                                      19 “emotional distress.” Plaintiffs’ claims are squarely foreclosed by established

                                                                      20 precedent and for the reasons set forth below, Plaintiffs’ Amended Complaint

                                                                      21 should be dismissed for failure to state a claim.

                                                                      22         Plaintiffs allege that they were among the thousands of passengers on the
                                                                      23 Grand Princess cruise ship who embarked on February 21, 2020. (Am. Compl. ¶

                                                                      24 15.) Plaintiffs’ Amended Complaint is nearly identical to numerous complaints filed

                                                                      25 by the same Plaintiffs’ attorneys representing passengers aboard this same cruise

                                                                      26 seeking emotional distress damages based only on a fear of contracting COVID-19.
                                                                      27 The sole difference between this Amended Complaint and the form complaint

                                                                      28 Plaintiffs’ counsel filed in all those other cases (where the guests never tested

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                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-03847-RGK-SK
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                                                                       1 positive for COVID-19), is the addition of a passing mention that the Plaintiffs

                                                                       2 herein tested positive for the virus at some unspecified time after their cruise. As for

                                                                       3 liability, Plaintiffs claim only that they were aboard the same 107,517 ton cruise ship

                                                                       4 along with approximately 3,700 other passengers and crew, some of whom could

                                                                       5 have interacted with individuals from the preceding cruise who were later diagnosed

                                                                       6 with COVID-19 after their cruise ended. (Am. Compl. ¶¶ 18-19.) Importantly,

                                                                       7 Plaintiffs offer no facts stating how or where they contracted the virus, and fail to

                                                                       8 even allege causation between the alleged negligence and Plaintiffs’ subsequent

                                                                       9 diagnosis with COVID-19.

                                                                      10         Courts have held that a bare diagnosis, without any actual symptoms causing
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                                                                      11 some sort of functional impairment, is not a cognizable physical harm sufficient to
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                                                                      12 support a disease claim such as is alleged here. Nor does a mere diagnosis support a
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                                                                      13 claim for emotional distress; courts hold that plaintiffs must allege objectively
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                                                                      14 serious physical manifestations of their claimed emotional distress.

                                                                      15         Allowing for liability based purely on a diagnosis—particularly without any
                                                                      16 allegation tying Plaintiffs’ alleged diagnosis to PRINCESS—would permit “the very

                                                                      17 real possibility of nearly infinite and unpredictable liability for defendants.” Norfolk

                                                                      18 & W. Ry. Co. v. Ayers, 538 U.S. 135, 146 (2003) (quoting Consolidated Rail Corp.

                                                                      19 v. Gottshall, 512 U.S. 532, 546 (1994)). If accepted, Plaintiffs’ theory would open

                                                                      20 the door to open-ended liability for every business, school, church, and municipality

                                                                      21 across America, stalling economic recovery in the wake of the COVID-19 pandemic

                                                                      22 and complicating the ability of businesses to reopen. This is particularly important

                                                                      23 here when dealing with a virus which causes no symptoms whatsoever in a large

                                                                      24 percentage of the people who ultimately test positive for the virus. Even if Plaintiffs

                                                                      25 could recover for their diagnosis in theory, their Amended Complaint does not

                                                                      26 plausibly allege facts to establish causation. To the contrary, Plaintiffs admit they
                                                                      27 disembarked the vessel and “were transferred to various Air Force bases across the

                                                                      28 country where they remained quarantined, and ultimately tested positive for

                                                                                                                     2
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03847-RGK-SK
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                                                                       1 COVID-19.” (Am. Compl. ¶ 24.) Plaintiffs, however, never affirmatively allege

                                                                       2 that they contracted the disease on the vessel.

                                                                       3         With the COVID-19 pandemic, a flood of lawsuits has already begun. In just
                                                                       4 the first few months of this pandemic, more than 40 similar lawsuits have already

                                                                       5 been filed relating to passengers on this cruise along with other cruises and vessels. 1

                                                                       6 And there is no reason to think the flood will abate. As of the date of filing this

                                                                       7 brief, over 3.2 million cases of COVID-19 have been confirmed in the United States

                                                                       8 alone and over 12.5 million cases worldwide.2

                                                                       9         Given the millions of confirmed cases of COVID-19, it is inevitable that
                                                                      10 thousands of schools, nursing homes, shopping centers, stadiums, parks, and
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                                                                      11 businesses across America have had cases on their premises. A positive COVID-19
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                                                                      12 test result, without more, cannot be carte blanche to sue any business that allegedly
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                                                                      13 had an infected individual patronize that business at some point in time in the past.
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                                                                      14 To allow Plaintiffs to bring such a claim without any plausible factual allegations

                                                                      15 Plaintiffs suffered any real harm and without any plausible factual allegations

                                                                      16 establishing causation between Defendant’s alleged conduct and Plaintiffs’

                                                                      17 diagnosis, would further forestall the economy’s reopening. This is especially

                                                                      18 troublesome provided the extent of asymptomatic cases (where an individual tests

                                                                      19 positive for COVID-19 or for COVID-19 antibodies yet never exhibits symptoms).

                                                                      20 By allowing this case to go forward as pled, anyone with a positive COVID-19 test

                                                                      21 could pick the deepest-pocketed business they visited and claim they are entitled to

                                                                      22 millions of dollars in damages simply because another individual who later tested

                                                                      23 positive had been in the same area previously. Businesses cannot open if they are to

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                                                                           1
                                                                            More than 25 of these lawsuits have been filed by the same law firms representing
                                                                      25
                                                                           Plaintiffs herein.
                                                                      26   2
                                                                          See Coronavirus Disease 2019 (COVID-19), Cases in the U.S., Centers for Disease
                                                                      27 Control    and Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cases-
                                                                         updates/cases-in-us.html.
                                                                      28

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03847-RGK-SK
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                                                                       1 be held liable to individuals who merely claim they tested positive for COVID-19 at

                                                                       2 some point after visiting a business where another infected individual was present.

                                                                       3 Indeed, COVID-19 outbreaks have now occurred in every type of business

                                                                       4 imaginable and in every state—Plaintiffs’ proposition that every COVID-19

                                                                       5 diagnosis is actionable is unfounded and implausible.

                                                                       6         Plaintiffs are seeking over $1 million each for emotional distress related to
                                                                       7 having tested positive for COVID-19. Courts require that a plaintiff experience

                                                                       8 symptoms of their contracted illness and serious physical consequences from their

                                                                       9 emotional distress before allowing recovery for the damages alleged herein. Here,

                                                                      10 Plaintiffs do not allege they suffered any symptoms of the virus nor any physical
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                                                                      11 manifestation of their alleged emotional distress. Finally, Plaintiffs’ request for
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                                                                      12 punitive damages is flatly insufficient under the strict standards governing punitive
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                                                                      13 damages in maritime claims.
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                                                                      14         For the reasons set forth herein, Plaintiffs’ Amended Complaint fails to allege
                                                                      15 sufficient facts to state a claim to relief and should be dismissed.

                                                                      16 II.     LEGAL STANDARD
                                                                      17         To survive a Rule 12(b)(6) motion, a complaint must allege “enough facts to
                                                                      18 state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

                                                                      19 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right to relief

                                                                      20 above the speculative level, … on the assumption that all the allegations in the

                                                                      21 complaint are true (even if doubtful in fact).” Id. at 555 (citations omitted). “The

                                                                      22 plausibility standard “asks for more than a sheer possibility that a defendant has

                                                                      23 acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading that

                                                                      24 offers labels and conclusions or a formulaic recitation of the elements of a cause of

                                                                      25 action will not do.” Id.

                                                                      26 III.    MEMORANDUM OF LAW
                                                                      27         Recognizing the potential for widespread liability in disease exposure cases,
                                                                      28 courts apply strict limits on such cases including the requirement that a plaintiff

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                                                                       1 must suffer symptoms of the contracted illness and must plausibly allege serious

                                                                       2 physical manifestations of their purported emotional distress. Metro-North, supra;

                                                                       3 Ainsworth v. Penrod Drilling Co., 972 F.2d 546 (5th Cir. 1992); Williams v.

                                                                       4 Carnival Cruise Lines, Inc., 907 F. Supp. 403, 407 (S.D. Fla. 1995). Plaintiffs have

                                                                       5 not alleged either. Accordingly, their case fails to state a cause of action and should

                                                                       6 be dismissed under Rule 12(b)(6). Beyond these shortcomings, the Amended

                                                                       7 Complaint should also be dismissed based on its failure to allege any facts

                                                                       8 establishing causation and their request for punitive damages should be dismissed or

                                                                       9 stricken.

                                                                      10       A. Federal Maritime Law Applies to Plaintiffs’ Claims
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                                                                      11           As Plaintiffs acknowledge by invoking this Court’s maritime jurisdiction and
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                                                                      12 stating that the case “involves a maritime tort” (Am. Compl. ¶ 3), Federal maritime
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                                                                      13 law applies to Plaintiffs’ claims.3 Maritime law applies when “(1) the alleged wrong
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                                                                      14 occurred on or over navigable waters, and (2) the wrong bears a significant

                                                                      15 relationship to traditional maritime activity.” Williams v. United States, 711 F.2d

                                                                      16 893, 896 (9th Cir.1983). “‘[V]irtually every activity involving a vessel on navigable

                                                                      17 waters” is       a “traditional maritime activity sufficient to invoke maritime
                                                                      18 jurisdiction.” See Taghadomi v. United States, 401 F.3d 1080, 1087 (9th Cir. 2005)

                                                                      19 ((quoting Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S.

                                                                      20 527, 542 (1995))); Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560, 1654 n.

                                                                      21 10 (11th Cir. 1991) (“In maritime tort cases such as this one, in which injury occurs

                                                                      22 aboard a … ship upon navigable waters, federal maritime law governs the

                                                                      23 substantive legal issues.”).

                                                                      24       B. Plaintiffs Cannot Recover for Emotional Distress
                                                                      25           Black-letter principles of maritime law foreclose Plaintiffs from recovering
                                                                      26 for emotional distress.
                                                                      27

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                                                                           3
                                                                               Plaintiffs’ Passage Contract applicable to their voyage similarly invokes maritime

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                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-03847-RGK-SK
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                                                                       1         1. To Recover for Emotional Distress Plaintiffs Must Plausibly Allege That
                                                                       2            They Suffered Symptoms of That Disease

                                                                       3         For the period before Plaintiffs’ alleged diagnosis, recovery for emotional
                                                                       4 distress is barred. Under the Supreme Court’s decision in Metro-North, a plaintiff

                                                                       5 alleging emotional distress from disease exposure “cannot recover unless, and until,

                                                                       6 he manifests symptoms of a disease.” Metro-North Commuter R. Co. v. Buckley,

                                                                       7 521 U.S. 424, 427 (1997). The Court has made clear that its rule applies not just to

                                                                       8 claims based on exposure to toxins like asbestos, but to any claim based on alleged

                                                                       9 exposure to a potential source of disease—specifically including “germ-laden air.”

                                                                      10 Metro-North, 521 U.S. at 437. The Supreme Court “sharply circumscribed”

                                                                      11 recovery under federal law specifically to avoid the “uncabined recognition of
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                                                                      12 claims for negligently inflicted emotional distress,” which would “hol[d] out the
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                                                                      13 very real possibility of nearly infinite and unpredictable liability for defendants.”
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                                                                      14 Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135, 146 (2003) (quoting Consolidated Rail

                                                                      15 Corp. v. Gottshall, 512 U.S. 532, 546 (1994)).

                                                                      16         The hard-and-fast rule from Metro-North, precluding a plaintiff’s recovery for
                                                                      17 emotional distress claims “unless, and until, he manifests symptoms of a disease,”

                                                                      18 thus squarely forecloses any recovery for harm caused prior to their alleged

                                                                      19 contraction of COVID-19. 521 U.S. at 427.

                                                                      20         2. To Recover for Emotional Distress Plaintiffs Must Plausibly Allege A
                                                                                    Physical Manifestation of the Claimed Distress
                                                                      21

                                                                      22         For the period after Plaintiffs’ alleged diagnosis, recovery for emotional
                                                                      23 distress still fails because there is no alleged physical manifestation of the claimed

                                                                      24 distress. A positive COVID-19 test result in and of itself is not legally sufficient to

                                                                      25 support a claim for emotional distress. Rather, courts require that claimed emotional

                                                                      26 distress must cause non-trivial physical consequences. In other words, “[g]eneral
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                                                                      28 law. See, https://www.princess.com/legal/passage_contract/plc.html at Section 1.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03847-RGK-SK
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                                                                       1 maritime law requires an ‘objective manifestation’ of the emotional injury—a

                                                                       2 physical injury or effect which arises from the emotional injury.” Wyler v. Holland

                                                                       3 Am. Line-USA, Inc., 2002 WL 32098495, at *1 (W.D. Wash. Nov. 8, 2002); accord

                                                                       4 Martinez v. Bally’s Louisiana, Inc., 244 F.3d 474, 477-478 (5th Cir. 2001); Duet v.

                                                                       5 Crosby Tugs, LLC, 2008 WL 5273688, at *3 (E.D. La. Dec. 16, 2008) (“Plaintiff’s

                                                                       6 emotional distress was not provoked by a physical injury, rather, plaintiff’s physical

                                                                       7 injury was provoked by emotional distress”); Tassinari v. Key W. Water Tours, L.C.,

                                                                       8 480 F. Supp. 2d 1318, 1325 (S.D. Fla. 2007) (“[S]tand-alone claims for negligent

                                                                       9 infliction of emotional distress require a physical manifestation of emotional

                                                                      10 injury.”).
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                                                                      11         Courts impose this physical-manifestation requirement because it “furnishes a
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                                                                      12 ‘guarantee of genuineness’ to the fact-finder, thus limiting the prospects for a flood
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                                                                      13 of fraudulent claims.” Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403,
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                                                                      14 407 (S.D. Fla. 1995); see also Tassinari, 480 F. Supp. 2d at 1325 (S.D. Fla. 2007)

                                                                      15 (citing “the beneficial public policy of placing an objective and easily applied

                                                                      16 restriction on frivolous claims”).

                                                                      17         Under this rule, minor physical consequences are not sufficient. See, e.g.,
                                                                      18 Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403, 407 (S.D. Fla. 1995)

                                                                      19 (plaintiffs could not recover even though they were in the zone of danger because

                                                                      20 they “complain[ed] only of fear and/or seasickness which in most cases lasted no

                                                                      21 more than a few days”); Ainsworth v. Penrod Drilling Co., 972 F.2d 546 (5th Cir.

                                                                      22 1992) (barring recovery for emotional distress where the plaintiff suffered “trivial”

                                                                      23 injuries, including upset stomach, headache, and pulled muscles); Ellenwood v.

                                                                      24 Exxon Shipping, 795 F. Supp. 31, 35 (D. Me. 1992) (loss of sleep and loss of

                                                                      25 appetite insufficient).

                                                                      26         Plaintiffs’ Amended Complaint contains no allegation of any physical
                                                                      27 manifestations of their emotional distress, let alone the serious and significant

                                                                      28 physical manifestation which is required. As explained, such allegations are a

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                                                                       1 prerequisite to stating a claim for emotional distress. Plaintiffs’ allegations that they

                                                                       2 “suffered emotional distress and emotional harm” and are “traumatized” are exactly

                                                                       3 the sorts of generalized allegations of fear and anxiety that courts have held are

                                                                       4 clearly insufficient to support a claim for emotional distress. (Am. Compl. ¶ 25);

                                                                       5 see, e.g., Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403, 407 (S.D. Fla.

                                                                       6 1995). This failure to allege a physical manifestation also provides an independent

                                                                       7 reason why plaintiffs cannot recover for the period before the alleged diagnosis.

                                                                       8 Thus, even if Plaintiffs had adequately pled that they contracted COVID-19 as a

                                                                       9 result of Defendant’s conduct, their emotional distress claims would nonetheless fail

                                                                      10 for the separate reason that they have not adequately pled a physical manifestation
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                                                                      11 of their emotional distress.
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                                                                      12         Independently, plaintiffs cannot recover even following their alleged
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                                                                      13 diagnosis because they have not alleged any “genuine and serious” manifestation of
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                                                                      14 actual, physical symptoms. Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135, 157-58

                                                                      15 (2003) (quoting Smith v. A.C. & S., Inc., 843 F.2d 854, 859 (5th Cir.1988)). The

                                                                      16 Supreme Court in Ayers allowed a plaintiff diagnosed with cancer to recover for

                                                                      17 distress from his fear of cancer—a debilitating and often fatal long-term disease. But

                                                                      18 as explained below (infra section III.C), courts do not allow recovery based on mere

                                                                      19 diagnoses absent some sort of concrete, “functional impairment” like that

                                                                      20 accompanying cancer. Unless a plaintiff genuinely and seriously fears that sort of

                                                                      21 tangible, functional impairment at the time he files suit, then he cannot recover for

                                                                      22 emotional distress. That rule is necessary to avoid an anomalous, arbitrary result: a

                                                                      23 plaintiff would be able to recover for the fear of something that, if it came to pass,

                                                                      24 he could not actually recover for as a physical harm.

                                                                      25      C. Plaintiffs Cannot Recover for a Mere Diagnosis, Without More, as a
                                                                      26         “Physical Harm”

                                                                      27         Plaintiffs do not allege any non-emotional injury other than the conclusory
                                                                      28 statements that they “suffered physical pain and suffering,” “physical injury,”

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                                                                       1 “physical handicap,” and “will suffer such losses and impairments in the future.”

                                                                       2 (Am. Compl. ¶¶ 25, 29-33.) Simply adding the generic phrases “physical pain,”

                                                                       3 “physical injury,” “physical handicap,” and “impairments,” is insufficient to support

                                                                       4 Plaintiffs’ Amended Complaint. They have not plausibly alleged any physical harm

                                                                       5 that is recoverable under maritime law. Plaintiffs allege nothing that could plausibly

                                                                       6 be “physical” beyond the positive diagnosis itself. Plaintiffs’ failure to allege any

                                                                       7 actual physical injury or what the injury consists of should be the end of the matter.

                                                                       8         Courts reject claims of physical injury based only on positive tests for
                                                                       9 asymptomatic diseases. Rather, a plaintiff claiming “compensable harm” from a

                                                                      10 disease must “adduc[e] objective testimony of a functional impairment.” In re
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                                                                      11 Hawaii Fed. Asbestos Cases, 734 F. Supp. 1563, 1567 (D. Haw. 1990) (emphasis
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                                                                      12 added); See e.g., Sheridan v. Cabot Corp., 113 F. App’x 444, 448 (3d Cir. 2004)
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                                                                      13 (noting that the “Pennsylvania Supreme Court” has held “that asymptomatic pleural
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                                                                      14 thickening is not a sufficient physical injury to warrant damages, and emphasizing

                                                                      15 that that plaintiffs were free to initiate lawsuits “when symptoms develop and

                                                                      16 physiological impairment begins”); Sondag v. Pneumo Abex Corp., 55 N.E.3d 1259,

                                                                      17 1265 (Ill. App. Ct. 2016) (“To qualify as ‘physical harm,’ the alteration of the body

                                                                      18 must have a detrimental effect in a more practical sense, such as by causing

                                                                      19 noticeable respiratory symptoms”) (citing Ackison v. Anchor Packing Co., 120 Ohio

                                                                      20 St.3d 228, 897 N.E.2d 1118, 1125 (2008); Giffear v. Johns-Manville Corp. (Pa.

                                                                      21 Super. Ct. 1993) 429 Pa.Super. 327, 340 [632 A.2d 880, 887-88], aff'd sub nom.

                                                                      22 Simmons v. Pacor, Inc. (1996) 543 Pa. 664 [674 A.2d 232] (a claim of

                                                                      23 asymptomatic pleural thickening does not rise to the level of a legally cognizable

                                                                      24 cause of action or, in other words, a legally compensable injury); Owens–Illinois v.

                                                                      25 Armstrong, 87 Md.App. 699, 591 A.2d 544, 561 (1991), aff'd in part and rev'd in

                                                                      26 part on other grounds, 326 Md. 107, 604 A.2d 47 (1992); Restatement (Third) of
                                                                      27 Torts: Liability for Physical and Emotional Harm § 4, Reporters’ Note to cmt. c, at

                                                                      28 59–60 (2010) (“An unfortunate and aberrational exception to the self-correction of

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                                                                       1 small or trivial harms explained in this Comment is asbestos claims by plaintiffs

                                                                       2 who suffer no clinical symptoms but who have abnormal lung X-rays, a condition

                                                                       3 known as pleural plaque. Some courts have responded by requiring that an asbestos

                                                                       4 plaintiff prove the existence of clinical symptoms before sufficient bodily injury

                                                                       5 exists.”)). Plaintiffs cannot recover under either of their causes of action without

                                                                       6 alleging physical harm.

                                                                       7         A COVID-19 diagnosis, without more, is not in itself a compensable physical
                                                                       8 harm. It is now accepted that most individuals who contract COVID-19 never

                                                                       9 experience symptoms.4 And the Amended Complaint contains no allegation of any

                                                                      10 actual impairment due to the alleged diagnoses other than a conclusory boilerplate
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                                                                      11 statement that does not identify any particular impairment. Treating a positive test
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                                                                      12 result with nothing more as a “physical harm” worth $1 million in compensatory
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                                                                      13 damages, plus punitive damages, expands tort liability in the same unlimited and
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                                                                      14 unpredictable way as allowing claims for pure emotional distress. Finding Plaintiffs’

                                                                      15 claims sufficient would invite harsh policy consequences the Supreme Court has

                                                                      16 warned against. See Metro-North Commuter R. Co. v. Buckley, 521 U.S. 424 (1997);

                                                                      17 Consolidated Rail Corp. v. Gottshall, 512 U.S. 532 (1994); Norfolk & W. Ry. Co. v.

                                                                      18 Ayers, 538 U.S. 135 (2003). COVID-19 is a widespread pandemic, and is well-

                                                                      19 known to be transmittable through airborne droplets. Any business, school, church

                                                                      20 or other venue alleged to have opened its doors a day too soon could be exposed to

                                                                      21 claims of emotional distress from anyone who stepped inside and then later tested

                                                                      22 positive for COVID-19 regardless of whether the individual alleges they came into

                                                                      23 contact with a source of COVID-19 at that establishment. This concern is even more

                                                                      24 significant in relation to a widespread and often undetectable disease like COVID-

                                                                      25 19 which has infected millions of people to date, a huge share of whom were

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                                                                      27
                                                                           4
                                                                            Plaintiffs’ Amended Complaint itself acknowledges this fact, noting the rate of
                                                                           positive cases “especially among those without symptoms…” (Am. Compl. at p. 4.)
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                                                                       1 asymptomatic. If a plaintiff can recover for emotional distress based only on testing

                                                                       2 positive for the virus but having no symptoms, there will be no limit on who can

                                                                       3 recover in the wake of the pandemic. Airline travel and public transportation will

                                                                       4 prove impossible. Individuals who test positive after they attend a football game,

                                                                       5 transit through an airport, eat at a restaurant, or shop at a mall or store will have

                                                                       6 carte blanche to sue whoever has the deepest pockets for emotional distress based

                                                                       7 entirely on having been at a venue where someone later is found to have tested

                                                                       8 positive for COVID-19. Allowing Plaintiffs’ claims to proceed, in other words,

                                                                       9 endorses the “nearly infinite and unpredictable liability for defendants” that

                                                                      10 Gottshall and Metro-North expressly set out to prevent. Ayers, 538 U.S. at 146.
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                                                                      11      D. Plaintiffs Have Not Plausibly Alleged Causation
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                                                                      12         Even if Plaintiffs had any avenue for recovery, their claims independently fail
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                                                                      13 because they do not state any facts suggesting that any conduct by PRINCESS was
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                                                                      14 the proximate cause of their positive diagnosis. Plaintiffs’ Amended Complaint is a

                                                                      15 boilerplate pleading devoid of factual allegations demonstrating they contracted

                                                                      16 COVID-19 as a result of the alleged negligence. As pled, the Amended Complaint

                                                                      17 makes it impossible to determine if they caught the virus at some port of call,

                                                                      18 through an asymptomatic individual (for which Defendant would likely not be

                                                                      19 liable), or during their post-cruise government managed transportation or

                                                                      20 quarantine. As such, Plaintiffs’ claims should be dismissed.

                                                                      21         Significantly, Plaintiffs do not allege they contracted COVID-19 on the
                                                                      22 vessel. Plaintiffs do not allege they experienced symptoms of the disease on the

                                                                      23 vessel (or at all). Plaintiffs do not allege they suffered symptoms or any ensuing

                                                                      24 sequelae related to COVID-19 other than the bare conclusory allegation that they

                                                                      25 “suffered physical pain and suffering,” “physical injury,” “physical handicap,” and

                                                                      26 “will suffer such losses and impairments in the future.” (Am. Compl. ¶¶ 25, 29-33.)
                                                                      27 Plaintiffs do not specify any facts showing how or where they contracted the virus

                                                                      28 or if it was a result of PRINCESS’s conduct. They have not alleged that they were

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                                                                       1 sick on the vessel, that they were diagnosed with COVID-19 on the vessel, or even

                                                                       2 that the virus entered their bodies on the vessel. Plaintiffs conspicuously fail to

                                                                       3 assert that they came into direct contact with any passengers or crew who had

                                                                       4 COVID-19, and instead assert only that there were other passengers somewhere

                                                                       5 aboard the ship—one with thousands of passengers and crew—who had come into

                                                                       6 contact with people who were later discovered to be infected. Given that millions of

                                                                       7 people have tested positive for COVID-19, alleging causation requires more than

                                                                       8 being aboard Defendant’s vessel and then testing positive for COVID-19 at some

                                                                       9 point thereafter. Plaintiffs’ Amended Complaint is precisely the sort of “[t]hreadbare

                                                                      10 recital [] of the elements of a cause of action” that cannot defeat a motion to dismiss.
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                                                                      11 Ashcroft v. Iqbal, (2009) 556 U.S. 662, 678.
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                                                                      12      E. Plaintiffs’ Claims for Punitive Damages are Foreclosed as a Matter of
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                                                                      13         Law and Should be Dismissed or Stricken
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                                                                      14         Finally, even if Plaintiffs’ claims could go forward on the merits, Plaintiffs’
                                                                      15 claims for punitive damages are foreclosed as a matter of law and should therefore

                                                                      16 be dismissed under Rule 12(b)(6) or stricken under Rule 12(f).

                                                                      17         The Supreme Court has recently clarified several important limitations on the
                                                                      18 availability of punitive damages in maritime cases, all of which make clear that

                                                                      19 punitive damages are unavailable in cases alleging only emotional distress—at least

                                                                      20 where that distress is not intentionally inflicted. In The Dutra Group v. Batterton,

                                                                      21 139 S. Ct. 2275 (2019), the Supreme Court set forth a framework for deciding when

                                                                      22 punitive damages are available under general maritime law, and then applied that

                                                                      23 framework to hold that punitive damages are unavailable in claims for

                                                                      24 unseaworthiness. First, where there is no federal statute authorizing punitive

                                                                      25 damages, courts must determine “whether punitive damages have traditionally been

                                                                      26 awarded” in the category of case at issue. Id. at 2283. If they are not, then the
                                                                      27 imposition of punitive damages is precluded. See Dunn v. Hatch, 792 F. App’x 449,

                                                                      28 451 (9th Cir. 2019) (Batterton “held that punitive damages cannot be recovered on

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                                                                       1 claims in admiralty where there is no historical basis for allowing such damages”).

                                                                       2 If the imposition of punitive damages would create “bizarre disparities in the law,”

                                                                       3 that further counsels against their availability. Batterton, 139 S. Ct. at 2287. And in

                                                                       4 determining whether to permit punitive damages, courts must proceed “cautiously in

                                                                       5 light of Congress’s persistent pursuit of uniformity in the exercise of admiralty

                                                                       6 jurisdiction.” Id. at 2278 (Miles v. Apex Marine Corp., 498 U.S. 19, 27 (1986)).

                                                                       7         Under this framework, Plaintiffs cannot recover punitive damages. While the
                                                                       8 Ninth Circuit has occasionally upheld the imposition of punitive damages for certain

                                                                       9 claims under general maritime law, see Churchill v. F/V Fjord, 892 F.2d 763, 772

                                                                      10 (9th Cir. 1998), Defendant is aware of no binding precedent supporting the
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                                                                      11 imposition of punitive damages for negligently (even grossly negligently) inflicted
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                                                                      12 harm without actual physical injury or property damage. To the contrary, any
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                                                                      13 “tradition” of punitive damages in maritime cases is limited to cases where the
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                                                                      14 defendant’s conduct is truly “outrageous”—cases of “enormity or deplorable

                                                                      15 behavior.” Dunn, 792 F. App’x at 452. And some courts have held expressly that

                                                                      16 punitive damages are unavailable to “personal injury claimants … except in

                                                                      17 exceptional circumstances such as willful failure to furnish maintenance and cure to

                                                                      18 a seaman (who are viewed as special wards of the court requiring additional

                                                                      19 protection), intentional denial of a vessel owner to furnish a seaworthy vessel to a

                                                                      20 seaman, and in those very rare situations of intentional wrongdoing.” In re Amtrak

                                                                      21 Sunset Ltd. Train Crash in Bayou Canot, Ala. on Sept. 22, 1993, 121 F.3d 1421,

                                                                      22 1429 (11th Cir. 1997). Recent decisions from the Eleventh Circuit, home to much

                                                                      23 cruise ship litigation, confirm that punitive damages are not available in passenger

                                                                      24 personal injury cases. Eslinger v. Celebrity Cruises, Inc., 772 Fed.Appx. 872, 872

                                                                      25 (Mem) (11th Cir. 2019); See also, Simmons v Royal Caribbean Cruises, Ltd., 423 F.

                                                                      26 Supp.3d. 1350 (S.D. Fla 2019) (there is no historical justification for punitive
                                                                      27 damages in cruise passenger negligence cases). As in Batterton, the absence of case

                                                                      28 law supporting the availability of punitive damages in suits for negligently inflicted

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                                                                       1 harm absent physical injuries “is practically dispositive.” Id. at 2284.

                                                                       2         The imposition of punitive damages here would create the same “bizarre
                                                                       3 disparit[y] in the law” that demanded foreclosure of punitive damages in Batterton.

                                                                       4 The Court there noted that, if punitives were permitted for unseaworthiness claims,

                                                                       5 “a mariner could make a claim for punitive damages if he was injured onboard a

                                                                       6 ship, but,” because of the Court’s prior decision in Miles, “his estate would lose the

                                                                       7 right to seek punitive damages if he died from his injuries.” 139 S. Ct. at 2287

                                                                       8 (emphasis added). The same disjoint would occur here, as the Death on the High

                                                                       9 Seas Act (DOHSA) expressly forbids the imposition of punitive damages for deaths

                                                                      10 caused by incidents more than three miles offshore. See 46 U.S.C. § 30303
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                                                                      11 (allowing damages only for “pecuniary loss”); Batterton, 139 S. Ct. at 2285 n.8.
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                                                                      12 Under Plaintiffs’ theory, passengers alleging exposure to a disease on the high seas
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                                                                      13 can freely recover punitive damages if they got a positive diagnosis with no
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                                                                      14 symptoms, and yet, if those same passengers died from the disease, DOHSA would

                                                                      15 squarely bar their claim for punitive damages. To avoid that arbitrary differential

                                                                      16 treatment, and to properly “pursue the policy expressed in congressional

                                                                      17 enactments” like DOHSA, punitive damages must be foreclosed. Id. at 2281.

                                                                      18         The policies at play further cement that punitive damages cannot be available.
                                                                      19 To the extent that liability alone did not create the “infinite and unpredictable

                                                                      20 liability,” Ayers, 538 U.S. at 146, the “stark unpredictability of punitive awards,”

                                                                      21 Exxon Shipping Co. v. Baker, 554 U.S. 471, 499 (2008), would make that threat an

                                                                      22 unavoidable reality.5 In turn, the open-ended threat of punitive damages would

                                                                      23 hobble “maritime commerce”—the “fundamental interest served by federal

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                                                                      25  Even if punitive damages were available, the Supreme Court has held that “under
                                                                           5

                                                                      26 maritime law, the maximum ratio of punitive damages to compensatory damages is
                                                                         1-1.” Exxon Valdez v. Exxon Mobil, 568 F.3d 1077, 1079 (9th Cir. 2009). If this
                                                                      27 Court does not dismiss or strike the request for punitive damages altogether, the

                                                                      28 Court should limit Plaintiffs’ damages accordingly.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-03847-RGK-SK
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                                                                       1 maritime jurisdiction.” Batterton, 139 S. Ct. at 2287.

                                                                       2 V.      CONCLUSION
                                                                       3         For the foregoing reasons, Defendant requests that the Court grant its Motion
                                                                       4 and dismiss Plaintiffs’ Amended Complaint.

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                                                                           DATED: July 13, 2020                  MALTZMAN & PARTNERS
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                                                                                                           By:   s/ Jeffrey B. Maltzman
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                                                                                                                 Princess Cruise Lines Ltd.
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